599 F.2d 1051
    22 Fair Empl.Prac.Cas.  62, 20 Empl. Prac.Dec. P 30,251Falkowskiv.Perry*
    No. 78-3716
    United States Court of Appeals, Fifth Circuit
    7/25/79
    N.D.Ala. 464 F.Supp. 1016
    
      1
      VACATED***
    
    
      
        *
         Summary Calendar case; Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409
      
      
        ***
         Opinion contains citation(s) or special notations
      
    
    